                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

MAGGI J. QUILLEN,                        )
                                         )
             Plaintiff                   )
                                         )       No. 3:12-1194
v.                                       )       Judge Trauger/Brown
                                         )       Jury Demand
TOUCHSTONE MEDICAL IMAGING,              )
                                         )
             Defendant                   )

                                   O R D E R

             The parties have reached settlement terms in this matter.

Accordingly, the parties are requested to submit an order of

dismissal to Judge Trauger to dismiss this case with prejudice.

The necessary paperwork should be submitted within 30 days of the

entry of this order.

             It appears nothing further remains to be done by the

undersigned Magistrate Judge and the Clerk is directed to return

the file to Judge Trauger.

             It is so ORDERED.

                                         /s/ Joe B. Brown
                                         JOE B. BROWN
                                         United States Magistrate Judge




     Case 3:12-cv-01194 Document 41 Filed 08/11/14 Page 1 of 1 PageID #: 559
